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                   EXHIBIT B
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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


      SILCOTEK CORPORATION,
                                                   Civil Action No. 23-281-JPM
                      Plaintiff,

              v.

      WATERS CORPORATION,

                      Defendant.


                                   [PROPOSED] FINAL JUDGMENT

        WHEREAS, on November 15, 2024, the Court issued a Claim Construction Order (Doc.

 93) construing certain claims of U.S. Patent No. 11,131,020 (the “’020 Patent”) and U.S. Patent

 No. 10,881,986 (the “’986 Patent”) (collectively, the “Asserted Patents”);

        WHEREAS, on March __, 2025, Plaintiff SilcoTek Corporation (“Plaintiff”) and

 Defendant Waters Corporation (“Defendant”) (and collectively, the “Parties”) entered a Joint

 Stipulation of Non-Infringement (D.I. __) in which, in light of the Court’s Claim Construction

 Order and reserving all rights to appeal, the parties stipulated to the entry of a final, appealable

 judgment of non-infringement of the ’020 Patent against Plaintiff and in favor of Defendant;

        WHEREAS, on _____________ _____, 2025, the Court issued an Order Granting

 Plaintiff’s Motion to Dismiss (D.I. __) dismissing without prejudice Plaintiff’s claims of

 infringement of the ’986 Patent by Defendant, and Plaintiff has agreed that it will not refile a suit

 based on the ’986 patent alone; rather, if the “carboxysilane” construction is affirmed as to the

 ’020 patent, a refiling of the ’986 patent by Plaintiff would only occur as part of a new suit with

 other patents that newly issued after the filing of the Complaint in this case;




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           WHEREAS, the parties’ Joint Stipulation of Non-Infringement (D.I. __) and the Court’s

 Order Granting Motion to Dismiss resolved all affirmative claims asserted by Plaintiff in this

 action;

           WHEREAS, all of Defendant’s unadjudicated defenses with respect to all Asserted

 Patents are dismissed without prejudice, subject to Defendant’s right to reassert such defenses in

 the future, including in the event of a reversal of this judgment and remand to this Court for

 further proceedings following the expected appeal of the Court’s Claim Construction Order (D.I.

 93); and

           WHEREAS, Defendant shall defer any request for assessment of costs, including under

 Federal Rule of Civil Procedure 54(d) and Local Rules 54.1, or a motion seeking attorneys’ fees,

 including under Federal Rule of Civil Procedure 54(d) and Local Rule 54.3, related to the

 litigation until any appeal from this Final Judgment has been exhausted;

           IT IS HEREBY ORDERED AND ADJUDGED, that final judgment hereby is entered

 in favor of Defendant Waters Corporation against Plaintiff SilcoTek Corporation.

           IT IS FURTHER ORDERED that the deadlines for filing any request for taxation of

 costs under Federal Rule of Civil Procedure 54(d) and Local Rules 54.1, or any motions for

 attorneys’ fees pursuant to Federal Rule of Civil Procedure 54(d)(2)(B)(i), shall be extended until

 14 days after a mandate issues from the Federal Circuit from the expected appeal of this Final

 Judgment.

           This is a final judgment and may be appealed.

           SO ORDERED this ____ day of ______________, 2025.


                                                        ____________________________________
                                                              United States District Judge



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